                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


 DWAYNE DIGGS, ET AL.

                         Plaintiffs,

                  v.                                 22-cv-40003-MRG

 CAROL MICI, ET AL.,

                         Defendants.


               PARTIALLY JOINT MOTION FOR CLASS CERTIFICATION

         The parties respectfully submit this joint motion for class certification, along with separate

requests for orders pertaining to class certification. Specifically, the parties jointly seek to certify,

under Rule 23(b)(3), a damages class of prisoners at Souza-Baranowski Correctional Center

(“SBCC”) who allege that they were subjected to excessive force by correction officers from

January 10, 2020, to February 6, 2020. Plaintiffs separately also seek to certify a subclass of Black

and Latinx prisoners at SBCC who allege they were subject to racial discrimination under the

Equal Protection Clause; Defendants oppose the creation of this subclass. The parties jointly seek

to certify, under Rule 23(b)(2), a class of prisoners at SBCC seeking injunctive relief, but do not

agree on the scope and definition of this class. Plaintiffs seek to define the injunctive class as “all

individuals who are now, or who will be in the future, incarcerated at Souza-Baranowski

Correctional Center.” Defendants seek to define the injunctive class as “all individuals who were

incarcerated at SBCC who were subjected to uses of force from January 10, 2020, to February 6,

2020.”

         In support of this motion and their respective positions on the contested matters, the parties

are jointly submitting a Memorandum in Support of Partially Joint Motion for Class Certification.
The memorandum first addresses the parties’ agreed-upon motion for a damages class, then

provides the parties’ respective positions on the subclass and the definition of the injunctive class.




       WHEREFORE, the parties respectfully request that the Court enter an order:

       1. Certifying under Rule 23(b)(3) a damages class consisting of “all individuals

           incarcerated at Souza-Baranowski Correctional Center who were subjected to uses of

           force from January 10, 2020, to February 6, 2020”;

       2. Certifying, or denying certification of, a damages subclass consisting of “all Black and

           Latinx individuals incarcerated at Souza-Baranowski Correctional Center who were

           subjected to uses of force from January 10, 2020, to February 6, 2020”; and

       3. Certifying under Rule 23(b)(2) a class seeking injunctive and declaratory relief as

           defined by either Plaintiffs’ proposed definition, that is, “all individuals who are now,

           or who will be in the future, incarcerated at Souza-Baranowski Correctional Center,”

           or Defendants’ proposed definition, that is, “all individuals who were incarcerated at

           SBCC and subjected to uses of force from January 10, 2020, to February 6, 2020.”




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 Respectfully submitted,



CAROL MICI, PAUL HENDERSON,                  DWAYNE DIGGS, DEMETRIUS
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KEITH HOULE, ROBERT DESCHENE,                DANAVIAN DANIEL
JAMES ALLAIN, JAMES GEARIN,
ROBERT D’AMADIO, JOSEPH BELLINI,             By
JOHN MADDEN, AND EVAN LARANJO,
                                             /s/ David Milton
By                                           Lauren Petit (BBO # 640410)
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/s/Stephanie Caffrey (dm)                    David Milton (BBO # 668908)
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                                    RULE 7.1(a)(2) CERTIFICATE

       I hereby certify that the parties have conferred and have attempted in good faith to resolve or
narrow the issues on which they do not agree.


Date: November 20, 2023                                       /s/ David Milton
                                                              David Milton (BBO # 668908)



                                     CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing and that paper copies
will be sent to those indicated as non-registered participants on the above date.

Date: November 20, 2023                                       /s/ David Milton
                                                              David Milton (BBO # 668908)




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